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 8                              UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10                                      SOUTHERN DIVISION
11
12   WENDY CUNNING, an individual,                 ) Case No.: 8:21-cv-00710-DOC-KES
                                                   )
13                                                 )
                           Plaintiff,              ) JUDGMENT ON SPECIAL VERDICT
14                                                 )
           vs.                                     )
15                                                 )
     SKYE BIOSCIENCE, INC., a Nevada               )
16                                                 )
     Corporation; and DOES 1-10, inclusive,        )
17                                                 )
                           Defendant.              )
18                                                 )
                                                   )
19                                                 )
                                                   )
20                                                 )

21          This action came on regularly for trial on January 3, 2023, in Courtroom 10A of the
22   above-entitled Court, the Honorable David O. Carter presiding.
23          Plaintiff Wendy Cunning (“Ms. Cunning”) was represented by Andrew J. Jaramillo and
24   Sean T. Nguyen of Altus Law Firm, and defendant Skye Bioscience, Inc. (“Skye”) was
25   represented by Ryan H. Crosner and Chloe S. Chang of Ogletree, Deakins, Nash, Smoak &
26   Stewart, P.C. and Summer Young-Agriesti of Klatte, Budensiek & Young-Agriesti, LLP.
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                                  JUDGMENT ON SPECIAL VERDICT
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 1          A jury of six (6) persons was impaneled and sworn. After hearing the evidence and
 2   arguments of counsel, and after the jury was instructed by the Court, the jury deliberated and, on
 3   January 18, 2023, returned into Court with its special verdict consisting of questions submitted to
 4   the jury and the answers given thereto by the jury, which was dated and signed by the Foreperson
 5   of the Jury (Document No. 151 on the Court’s docket). Upon reading of the verdict, Skye’s
 6   counsel requested that the jury be polled. During polling, every juror separately and
 7   independently confirmed each of the answers in the special verdict, which was in words and
 8   figures, as follows:
 9
10                               PLAINTIFF’S FIRST CLAIM FOR RELIEF
11                RETALIATION IN VIOLATION OF THE SARBANES-OXLEY ACT
12
13          1. Did Ms. Cunning prove that her complaints contributed to Skye’s
14          decision to terminate her employment? Yes (Yes/No).
15          If you answered “Yes,” proceed to question No. 2. If you answered,
16          “No,” stop here and proceed to the section titled “Plaintiff’s Second
17          Claim for Relief’.
18          2. Did Skye prove by clear and convincing evidence that it would have
19          terminated Ms. Cunning’s employment regardless of whether she
20          engaged in protected activity? No (Yes/No).
21          If you answered “No,” proceed to question No. 3. If you answered,
22          “Yes,” stop here and proceed to the section titled “Plaintiff’s Second
23          Claim for Relief’.
24          3. Was Ms. Cunning harmed (e.g. suffered lost wages and/or emotional
25          distress) by Skye’s termination of her employment? Yes (Yes/No).
26          Proceed to Plaintiff’s Second Claim for Relief.
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 1                        PLAINTIFF’S SECOND CLAIM FOR RELIEF
 2       RETALIATION IN VIOLATION OF THE WIDSTLEBLOWER PROTECTION
 3                                              ACT
 4
 5       1. Did Ms. Cunning prove that her complaints or resistance contributed to
 6       Skye’s decision to terminate her employment? Yes (Yes/No).
 7       If you answered “Yes,” proceed to question No. 2. If you answered “No,”
 8       proceed to question No. 4.
 9       2. Did Skye prove by clear and convincing evidence that it would have
10       terminated Ms. Cunning’s employment regardless of whether she
11       engaged in protected activity? No (Yes/No).
12       If you answered “No,” proceed to question No. 3. If you answered “Yes,”
13       proceed to question No. 4.
14       3. Was Ms. Cunning harmed (e.g. suffered lost wages and/or emotional
15       distress) by Skye’s termination of her employment? Yes (Yes/No).
16       If you answered “Yes,” proceed to the section titled “Plaintiff’s
17       Economic Damages.” If you answered “No,” proceed to question No. 4.
18       4. Did you find in favor of Plaintiff on her First Claim for Relief? Yes
19       (Yes/No).
20       If you answered “Yes,” proceed to the section titled “Plaintiff’s
21       Economic Damages.” If you answered “No,” stop here, proceed to the
22       last page, and have the foreperson date and sign the document.
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 1                           PLAINTIFF’S ECONOMIC DAMAGES
 2
 3       1 . What amount of economic damages ( e.g. past and future lost earnings) do
 4       you award Ms. Cunning?
 5       a. Lost earnings (including benefits and pay increases) that Ms.
 6       Cunning would have earned up to today:
 7       $400,000.
 8       b. Prejudgment interest on lost earnings up to today:
 9       $40,000.
10       c. Future lost earnings that Ms. Cunning would have earned for the
11       length of time her employment with Skye was reasonably certain
12       to continue:
13       $72,500.
14       d. What is the total amount of the amounts listed above?
15       $512,500.
16       Proceed to the section titled “Limitation on Economic Damages.”
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                              JUDGMENT ON SPECIAL VERDICT
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 1                         LIMITATION ON ECONOMIC DAMAGES
 2
 3       l. If you find that Ms. Cunning is entitled to recover economic damages,
 4       did Skye prove:
 5       a. That Ms. Cunning engaged in misconduct during her employment
 6       by copying company documents or files without Skye’s permission
 7       or authorization? Yes (Yes/No).
 8       b. That Ms. Cunning’ s misconduct was sufficiently severe that Skye
 9       would have terminated her employment because of that
10       misconduct alone, had it known of it? No (Yes/No).
11       c. That Skye would have terminated Ms. Cunning’ s employment
12       because of that misconduct alone as a matter of settled company
13       policy? No (Yes/No).
14       If you answered “Yes” to each of the elements above, what date did Skye
15       prove that it discovered the misconduct?
16       [enter date here] ________________
17       Ms. Cunning may recover economic damages only for the period before the
18       date you entered above, and you may now reduce her damages accordingly. What
19       is the revised amount of economic damages?
20       $ _________________
21       Proceed to the section titled “Plaintiffs Non-Economic Damages.”
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 1                        PLAINTIFF’S NON-ECONOMIC DAMAGES
 2
 3       1. What amount of non-economic damages ( e.g. damages for emotional
 4       distress) do you award to Ms. Cunning?
 5       $840,960.
 6       Proceed to the section titled “Punitive Damages.”
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                              JUDGMENT ON SPECIAL VERDICT
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 1                                         PUNITIVE DAMAGES
 2
 3            1. Did one or more officers, directors, or managing agents of Skye
 4            Bioscience, Inc. engage in conduct constituting malice, oppression, or
 5            fraud? Yes (Yes/No).
 6            If you answered “Yes,” proceed to question No. 2. If you answered “No,”
 7            stop here, proceed to the last page, and have the foreperson date and sign
 8            the document.
 9            2. What amount of punitive damages, if any, do you award Ms. Cunning?
10            $3,500,000.
11            Proceed to the last page and have the foreperson date and sign the document.
12
13
14            WHEREFORE, and by virtue of the law, IT IS HEREBY ORDERED, ADJUDGED
15   AND DECREED, that plaintiff Wendy Cunning shall recover $4,853,460.00 as against
16   defendant Skye Bioscience, Inc., together with reasonable attorneys’ fees and costs pursuant to
17   statute and local rules, and interest as provided by law, in amounts to be later determined by the
18   Court.
19
20   IT IS SO ORDERED.
21
22   Dated: February 13, 2023                          __________________________________
                                                       THE HONORABLE DAVID O. CARTER
23                                                     UNITED STATES DISTRICT COURT JUDGE
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25   //
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 1   PREPARED BY:
 2   ALTUS LAW FIRM
 3
 4
     By: /s/
 5       Andrew J. Jaramillo
         Sean T. Nguyen
 6
 7   Attorneys for Plaintiff
     WENDY CUNNING
 8
 9   APPROVED AS TO FORM AND CONTENT BY:
10
11   OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.

12
13
     By: /s/
14       Ryan H. Crosner
         Chloe S. Chang
15
16   Attorneys for Defendant
     SKYE BIOSCIENCE, INC.
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